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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA             )
                                     )
             v.                      )       Criminal No. 99-10371-DJC
                                     )
JAMES J. BULGER,                     )
                                     )
                   Defendant.        )

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR
                        DISCLOSURE OF INFORMANT

       For   the   reasons   set   forth      below,   defendant   James      J.

Bulger’s “Motion for Disclosure of Confidential Informant” (ECF

Dkt. No.846, hereinafter, “Def.’s Mtn.”) lacks merit and should

be denied.

       Defendant Bulger asks this Court to compel the government

to reveal the identity of one of the two confidential informants1

referenced in a 1995 FBI affidavit submitted in support of a

government motion to forfeit James Bulger’s share of a winning

1991 “Mass Millions” lottery ticket.               Defendant characterizes

this   as    “highly   exculpatory       evidence.”    Def.’s   Mtn.     at   1.

However, defendant Bulger is not charged with any crime relating

to this matter nor is the lottery ticket mentioned anywhere in



1
  The government already provided the defense with the identity
of the first confidential informant because he later became a
cooperating witness. Def.’s Mtn. 5.
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the pending indictment.            Thus, it is not exculpatory of anything

at issue in this case.

       In   reality,       defendant’s      motion    is   simply    an      effort    to

obtain cumulative impeachment material for a government witness,

Kevin Weeks – a witness for whom there is clearly a substantial

amount of Giglio material that has already been produced to the

defense.       Specifically,        defendant      seeks   the    identity      of    the

informant because he/she may have information that “contradicts

the expected testimony” of Kevin Weeks, Def.’s Mtn. 1,                                and

because     the     defendant      hopes     to    “show   that     the      government

possessed information implicating both Weeks and the defendant

yet    chose      only     to     pursue    forfeiture      of    the       defendant’s

winnings,”     in    the    lottery    matter,       and   thereby      to   establish

“motive or bias on the part of Kevin Weeks.” Def.’s Mtn. 8-9.

Defendant fails to note that discovery has already been produced

to    the   defense      that     shows:    (a)    Weeks   passed       a    government

polygraph test regarding the lottery ticket issue (Bates No.

00082446); and (b) Weeks himself advised investigators that he

and Bulger spread a false “cover story” about the lottery ticket

so that their criminal colleague, Stephen Flemmi, would not be

mad about being excluded from the winnings (Bates No. 00053573)

-      thus,   it     is    not    surprising      that    informants        eventually

recounted the wrong version of events to the FBI.
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       Of course, defendant Bulger has not filed any affidavit

claiming that he disagrees with Kevin Weeks’ recollection of the

1991 lottery episode. Indeed, defendant Bulger’s own sister –

Jean Holland – spent years litigating trying to obtain standing

in the forfeiture case presumably in an effort to claim that

Bulger won a portion of the lottery ticket without criminal

wrongdoing.         Thus,   it   appears    that    defendant     Bulger    is    now

seeking “impeachment” material that he himself disputes.

  I.      The Supreme Court and First Circuit have Established a
          Presumption in Favor of Protecting the Identities of
          Confidential Informants

       Rulings      on   disclosure    of      a    confidential        informant’s

identity require “balancing the public interest in protecting

the    flow    of   information    against        the    individual’s     right    to

prepare       his   defense.      Whether     a     proper      balance    renders

nondisclosure        erroneous     must       depend       on   the     particular

circumstances of each case, taking into consideration the crime

charged, the possible defenses, the possible significance of the

informer's testimony, and other relevant factors.” Roviaro v.

United States, 353 U.S. 53, 62 (1957).                  The First Circuit begins

this inquiry with a “presumption in favor of confidentiality,”

and places a “heavy” burden “squarely on the defendant to show

that disclosure is essential for an adequate defense.” United

States v. Mills, 11-1249, 2013 WL 951214 at *8 (1st Cir. Mar.
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13, 2013)(emphasis added). Indeed, the government’s decision not

to disclose the identity of its informants “need only give way

when disclosure of the informant’s identity would be vital to a

fair trial” — as when “the government informant was the sole

participant, other than the accused, in the transaction charged,

or was the only witness in a position to amplify or contradict

the     testimony           of    government      witnesses.”           United     States      v.

Martinez, 922 F.2d 914, 920-21 (1st Cir. 1991) (quotations and

citations omitted).

        Here,      as    noted     at    the    outset,       defendant     Bulger       is   not

charged     with        any      crime   relating       to    this   matter       nor    is   the

lottery ticket mentioned anywhere in the pending indictment.

In    fact,     in      a     situation    like     the       instant     case,    “when      the

government informant is not an actual participant or a witness

to the offense, disclosure is required only in those exceptional

cases     where          the      defendant       can        point   to     some        concrete

circumstance            that     might    justify       overriding        both    the     public

interest        in      encouraging       the    flow        of   information,          and   the

informant's private interest in his or her own safety.” Id. at

921. For example, in United States v. Tzannos, the First Circuit

refused       to     compel       disclosure      of     a    confidential        informant’s

identity when the informant was not “the sole participant, other

than the accused, in the transaction charged, was not the only
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witness in a position to amplify or contradict the testimony of

government witnesses, and in fact had no involvement whatsoever

in the crime charged.” 460 F.3d 128, 140-41 (1st Cir. 2006)

(quotations         and    citations     omitted).     The    Tzannos    court       also

pointed to the lower “court’s finding that revealing the CIs’

identities posed an obvious risk to their safety” in justifying

its decision.        Id. at 139.

  II.       The Defense Has Not Met its Heavy Burden Regarding the
            One Remaining Confidential Informant in the FBI Affidavit

       In     the   case    at    bar,      several   factors   render       disclosure

unnecessary in light of the compelling government interest in

protecting informants and encouraging the flow of information to

law enforcement. First, as noted, the defense has not alleged

that    the    informant      has     any    information     regarding   the    crimes

charged in the indictment — this fact alone should preclude

compelled       disclosure       of   the     informant’s     identity       under   the

Roviaro standard.           See Tzannos, 460 F.3d at 140-41.             Second, the

defense already has access to the impeachment evidence it seeks

regarding the lottery issue, and the government has no Brady

burden      when     “facts      [are]      readily   available    to    a     diligent

defender.”          Lugo v. Munoz, 682 F.2d 7, 9-10 (1st Cir. 1982).

This information includes FBI Special Agent Gamel’s affidavit

summarizing the informant’s statements, knowledge of one of the


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two confidential informants’ identities, and familiarity with

the actual lottery winner, Michael Linskey.

        Third, disclosure of the informant’s identity poses some

risk to the informant and his family — the defendant is charged

with killing a number of government informants and, if freed,

would    undoubtedly      seek        revenge        on    anyone   who    assisted     the

government in making a case against him.                            Moreover, the mere

fact of being labeled a “rat” or a “snitch” can incite third

parties     to   harass        or     harm     an    individual      who    is     publicly

identified as an informant.

        Fourth, former FBI Special Agent John Gamel has advised

government counsel that the unidentified informant at issue did

not get his information from Kevin Weeks.                            Thus, defendant’s

Fed.R.Evid. 613(b) argument falls flat: because Weeks never made

an    “inconsistent    statement          to    the       unnamed   informant,”      Def.’s

Mtn. 9, he cannot be impeached under Rule 613.

        In short, allowing defendant’s request would be unnecessary

and     ill-advised.      He        has   failed      to     meet   the    heavy     burden

necessary to disclose an informant’s identity and his motion

amounts to mere speculation that disclosure of a confidential

informant’s identity may yield cumulative evidence unrelated to

the indictment, even though such evidence is “immaterial under



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Brady.”      Conley v. United States, 415 F.3d 183, 189 (1st Cir.

2005).

  III.       Conclusion

    For      the    reasons    set   forth       above,    the   United   States

respectfully       requests   that   the   Court    deny   defendant’s    motion

without a hearing.


                                               Respectfully submitted,

                                               CARMEN M. ORTIZ
                                               United States Attorney

Dated: April 1, 2013             By:           /s/ Brian T. Kelly
                                               BRIAN T. KELLY
                                               FRED M. WYSHAK, JR.
                                               ZACHARY R. HAFER
                                               Assistant U.S. Attorneys


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                                               /s/ Brian T. Kelly
                                               BRIAN T. KELLY
                                               Assistant U.S. Attorney


Dated: April 1, 2013



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